Case 2:16-cr-00407-JLL Document 28 Filed 04/15/19 Page 1 of 1 PagelD: 112

DNJ-Cr-021 (09/2017}

 

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA .
Criminal No. 16 Cr. 407 (ILL)

Vv.

SENTENCING SUBMISSION NOTICE

OF DEFENDANT
Nathan Bradley Montgomery

Defendant(s).

 

 

Please be advised that, on this date, defendant Nathan Bradley Montgomery

submitted sentencing materials to the Court in this case.

Date: April 15, 2019

By: /s Brandon D. Minde

 

Dughi, Hewit & Domalewski, P.C.
